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Exhibit 89
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From:
Date: July 26, 2017 at 12:00:36 AM EDT
To: "Dietrich, John W." <JDIETRICH@AtlasAir.com>
Cc:
Subject: ATLAS RELIABILITY

Good evening, John,

I hope this email finds you well. If possible, are you able to take a brief call Wednesday? I’d like to
discuss some issues to not only ensure you are aware, but to hopefully partner to deliver the best
possible service for         customers. Specifically, we should discuss the following:

    •    23JUL –                     ) went AOG in       due to lav over-servicing. As a result, the
              leg had to be cancelled (all customer packages missed the sort window, missing our
        promise). To prevent compounding customer misses, the Atlas spare was activated at
        1450Z. Due to the spare window not “officially” opening until 1500Z, and a 90 minute call-out,
        the earliest Atlas committed to having the crew and aircraft ready to launch to          to fly the
                      leg was 1630Z.                was to be used as the spare and Paul Paisley (Atlas)
        confirmed at 1610Z that the aircraft was ready for a 1630Z departure. When the aircraft had
        not departed at 1630Z,            reached out to Atlas. At first, Atlas stated a weight/balance
        issue existed, but was then told the aircraft was not fueled. The            funded spare aircraft
        departed at 1738, 68 minutes past the committed departure time. After arrival at KABE, the
        aircraft was ready for departure to        at 1955Z. The expectation was set to depart ASAP
        upon quick-turn of the aircraft to ensure an on-time arrival at         . The aircrew refused to
        depart until the “scheduled” time set by Atlas (2039Z). The issue (not launching the spare after
        a quick-turn in      ) was escalated to Atlas and the aircraft blocked out at 2023Z, only to return
        to the blocks for a TCAS issue. The aircraft finally blocked out at 2115Z and arrived 280 minutes
        (4+40 hours) late at       .

    •    24JUL –          – aircrew called in sick. Atlas offered to source a spare pilot for a departure
        four hours after scheduled departure time. As a four hour delay would result in missed package
        connections and missed customer promise, the Atlas flight was cancelled and a fully crewed,
        operationally ready spare aircraft operated by another carrier was used to satisfy customer
        promise. As a note, Atlas has the highest number of fatigue calls (over 5x) versus non-Atlas
        operated flights. This is particularly concerning considering Atlas only operates       aircraft and
        a spare on behalf of           customers at the moment.

    •            funded network spare              – Atlas sends “advisory notices” of how Atlas intends to
        use the spare aircraft. As the aircraft is an          funded network spare,                should
        decide how best to use the spare and should be part of any “contingency management”
        conversations as the aircraft may need to be used to cover a non-Atlas operated route.

    •    Jeff Carlson and I have attempted to connect a few times, unsuccessfully, to discuss the 17JUL
                       crewing issue (no pilot, resulting in a delay of +255 minutes and breaking our
        promise to over 6,000 customers). The point of discussion regarding this issue is earlier
        notification by Atlas to allow     to work contingency options.
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    •    I have received feedback that
                                                 . Is that true?

Thanks in advance for your time and attention to this email, John. This email is not all-encompassing,
but touches on some recent, prevalent concerns. I look forward to discussing further on Wednesday.

All the best-
